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            IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA                              )      Case No. 2:21 CR 19
                                                      )
                                                      )      Judge J. Nicholas Ranjan
                                                      )
                                                      )
       v.                                             )
                                                      )
                                                      )
KALEB LEVICKY                                         )




                 SECOND MOTION FOR EXTENSION OF TIME
                      TO FILE PRE-TRIAL MOTIONS

       AND NOW, comes the Defendant, Kaleb Levicky, by and through his attorney,

Lane M. Turturice, and respectfully submits the following:

       1.      Defendant is charged in the above indictment with Cyberstalking (18 U.S.C.

§ 2261 A(2)(B) and Interstate Communication of Threat to Injure 18 U.S.C. § 875(c).

       2.      Defendant’s pre-trial motions are due on or about June 21, 2021.

       3.      Defendant has received discovery from the government.

       4.      Defendant is presently incarcerated and due to Covid-19 restrictions and the

Defendant’s location the Defendant has not been able to participate in his defense in the

same way if the Defendant were not incarcerated pending trial.

       5.      The Defendant was initially evaluated for reasons related to competency

and treatment recommendations pending trial, but additional, more specialized diagnosis

and treatment is necessary.

       6.      It is believed that the parties can reach a plea agreement.
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      7.    Defendant requests an extension of at least 90 days in which to file Pre-Trial

Motions.

       WHEREFORE, it is respectfully requested that this Honorable Court grant

Defendant an extension of time of ninety (90) days to file pre-trial motions.



                                                     Respectfully submitted,

                                                     /s/ Lane M. Turturice, Esquire
                                                     Lane M. Turturice, Esquire
                                                     Attorney for Defendant
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           IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA                           )      Case No. 2:21 CR 19
                                                   )
                                                   )
                                                   )
       v.                                          )
                                                   )
                                                   )
KALEB LEVICKY                                      )




                           CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that on May 28, 2021, a true and correct

copy of the Motion was served by electronic means on the following:

                                   Cindy K. Chung, AUSA
                                  cindy.chung2@usdoj.gov

                                                   Respectfully submitted,

                                                   /s/ Lane M. Turturice, Esquire
                                                   Lane M. Turturice, Esquire
                                                   PA ID No. 85088
                                                   70 E. Wheeling Street
                                                   Washington, PA 15301
                                                   (724)470-9640
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            IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA                             )      Case No. 2:21 CR 19
                                                     )
                                                     )
                                                     )
       v.                                            )
                                                     )
                                                     )
KALEB LEVICKY                                        )




                                  ORDER OF COURT

       AND NOW, to wit, this ________ day of _______________ , 2021, it is hereby

ORDERED, ADJUDGED and DECREED that the Defendant’s Motion For Extension of

Time To File Pre-trial Motions is GRANTED. The Defendants pre-trial motions shall be

due on or before September 22, 2021.

        It is further ORDERED that pursuant to 18 U.S.C. § 3161 (h)(3)(A) that the period

of delay resulting from this continuance shall be excluded in computing the time within

which the trial of the above-captioned matter must commence, because the court concludes

that the ends of justice served by granting the extension of time outweigh the interests of

the public and the defendant in a speedy trial.

                                                     ______________________________
                                                     District Judge J. Nicholas Ranjan
